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                         IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK



  IN RE: APPLICATION OF OMAR                     Misc. Action No.:
  ALGHANIM FOR AN ORDER TO
  TAKE EXPEDITED DISCOVERY
  FOR USE IN FOREIGN
  PROCEEDING PURSUANT TO 28
  U.S.C. § 1782


                         DECLARATION OF ROBERT A. VAN KIRK

       I, Robert A. Van Kirk, having personal knowledge of the statements herein, declare as

follows:

       1.      I am a partner in the firm Williams & Connolly LLP, counsel for Petitioner Omar

Alghanim in the above proceedings.

       2.      On December 29, 2020, I sent an email to David J. Stoll, a partner in Milbank LLP

asking him to authenticate a non-privileged email he had received from his client, Kutayba

Alghanim, on November 28, 2019. A true and correct copy of that email and its attachments is

attached as Exhibit 1.

       3.      On January 5, 2021, Mr. Stoll proposed a phone conversation to discuss my request,

which took place on January 8, 2021. I noted during that call that although the request for

cooperation made on December 29, 2020 was very narrow in an effort to forestall needless

litigation regarding enforceability, in the event that a Section 1782 petition were to be filed, it

would be broader (albeit still tailored) to account for the necessity of comprehensively collecting

relevant evidence through adverse proceedings. Mr. Stoll (and his colleague and counsel, who

joined the call as well) said that they needed to discuss my request within their firm and with

Kutayba, and would respond once they had done so.

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       4.       In a follow on email on January 8, 2021, I asked for a response by the close of

business on Wednesday, January 13, 2021. On January 12, 2021, Milbank asked for a courtesy

extension until January 20, 2021 to respond to my request, and on January 20, 2021, Milbank

requested a further extension until January 22, 2021 to respond. In each instance, I agreed to the

requests.

       5.       On January 22, 2021, Milbank advised that it would not supply an affidavit

authenticating the document from its client, which I had requested in my December 29, 2020 email.

A true and correct copy of that email, including the above emails in the chain, is attached as

Exhibit 2.

       6.       A proposed order authorizing the discovery sought in these proceedings is attached

as Exhibit 3.

       7.       The proposed subpoenas to be issued and served for the discovery sought in these

proceedings are attached as Exhibit 4.

       I declare under penalty of perjury that the above and foregoing is true and correct.




                Robert A. Van Kirk




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